    Case 3:14-cr-00098-MCR-CJK                       Document 424       Filed 05/02/15   Page 1 of 7


FLND Form 2458 (rev J212003) Judgment in a Criminal Case                                          Page 1 0/7
314cr98·012IMCR - TERRANCE T. STONE


                                      UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF FLORIDA
                                           PENSACOLA DIVISION

UNITED STATES OF AMERICA

-vs-                                                           Case # 3:14cr98-012/MCR

TERRANCE T. STONE
                                                               USM # 23142-017

                                                               Defendant's Attorney:
                                                               Michelle L. Hendrix (Appointed)
                                                               315 South Palafox Street
                                                               Pensacola, Florida 32502


                                       JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty to Counts One, Two and Three of the Superseding Indictment on
January 29, 2015. Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such
counts which involve the following offenses:

       TITLE/SECTION                               NATURE OF                   DATE OFFENSE
          NUMBER                                    OFFENSE                     CONCLUDED         COUNT
 21 U.S.C. §§ 841(a)(1),         Conspiracy to Distribute and Possess         December 16,2014     One
 841 (b)(1}(A)(ii) and 846       With Intent to Distribute 5 Kilograms or
                                 More of Cocaine

 21 U.S.C. §§ 843(b)             Conspiracy to Utilize a Telephone Facility   December 16, 2014    Two
 and 846

 18 U.S.C. § 1956(h)             Conspiracy to Commit Money Laundering        December 16, 2014   Three

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

                                                               Date of Imposition of Sentence:
                                                               April 22,2015



                                                               M. CASEY RODG      S
                                                               CHIEF UNITED S     TES DISTRICT JUDGE

                                                               Date Signed: May   2d ,2015
    Case 3:14-cr-00098-MCR-CJK                        Document 424   Filed 05/02/15   Page 2 of 7



FLND Form 24SB (rev J212003) Judgment in a Criminal Case                                       Page 2 of7
3:J4cr98-0J2IMCR - TERRANCE T STONE

                                                   IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 188 months as to Counts One and Three, and 48 months as to Count
Two, with the terms to be served concurrently, one with the other.

The court recommends to the Bureau of Prisons that the defendant be designated to a facility for
confinement as near Pensacola, Florida, as the BOP can reasonably accommodate so that he may
receive visitation from his family.

The court identifies the defendant as a person in need of a focused, intensive substance abuse
treatment program, both during incarceration and on reentry through a residential reentry center.

The court recommends the defendant's placement into the BOP's Residential Drug Abuse
Program. Additionally, while awaiting placement into RDAP, or, if deemed ineligible for RDAP due
to the time of sentence, or for any other reason, the court orders the defendant to complete Drug
Education classes and fully participate in the BOP's nonresidential drug abuse treatment program.

The court recommends that the defendant participate in any and all Cognitive Behavior Therapy
(CBT) programs available at his designated institution while in the cllstody of the BOP.

The defendant is remanded to the custody of the United States Marshal.


                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on _ _ _ _ _ _ _ _ _ to _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ at

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _, with a certified copy of this judgment.



                                                                      UNITED STATES MARSHAL


                                                               By:_ _ _ _ _ _ _ _ _ _ _ _ __
                                                                         Deputy U.S. Marshal
     Case 3:14-cr-00098-MCR-CJK                      Document 424    Filed 05/02/15         Page 3 of 7



FLND Form 245B (rev J212003) Judgment in a Criminal Case                                                Page 30f7
3: 14cr98-0/ 21MCR - TERRANCE T STONE


                                             SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 5
years as to Count One, 1 year as to Count Two and 3 years as to Count Three, with the terms
to run concurrently, one with the other.

The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime and shall not possess a
firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined
by the court.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                             STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.       The defendant shall not leave the judicial district without the permission of the court or probation
         officer;

2.       The defendant shall report to the probation officer in a manner and frequency directed by the court
         or probation officer;

3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
         of the probation officer;

4.       The defendant shall support his or her dependents and meet other family responsibilities;

5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
         schooling, training, or other acceptable reasons;

6.       The defendant shall notify the probation officer at least 10 days prior to any change in residence or
         employment;

7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
         distribute, or administer any controlled substance or any paraphernalia related to any controlled
         substances, except as prescribed by a physician;

8.       The defendant shall not frequent places where controlled substances are illegally sold, used,
         distributed, or administered;

9.       The defendant shall not associate with any persons engaged in criminal activity and shall not
         associate with any person convicted of a felony unless granted permission to do so by the probation
         officer;
      Case 3:14-cr-00098-MCR-CJK                     Document 424       Filed 05/02/15         Page 4 of 7



FLND Form 2458 (rev 1212003) Judgment in a Criminal Case                                                    Page 4 of7
3.14cr98-012IMCR TERRANCET STONE



10.      The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
         shall permit confiscation of any contraband observed in plain view of the probation officer;

11.      The defendant shall notify the probation officer within 72 hours of being arrested or questioned by
         a law enforcement officer;

12.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law
         enforcement agency without the permission of the court; and

13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be
         occasioned by the defendant's criminal record or personal history or characteristics and shall permit
         the probation officer to make such notifications and to confirm the defendant's compliance with such
         notification requirement.

14.      If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
         defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in
         the Criminal Monetary Penalties sheet of this judgment. .

                     ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

The defendant shall also comply with the following additional conditions of supervised release:

1.       The defendant shall be evaluated for substance abuse and referred to treatment as determined
         necessary through an evaluation process. Treatment is not limited to, but may include participation
         in a Cognitive Behavior Therapy program. The defendant may be tested for the presence of illegal
         controlled substances or alcohol at any time during the term of supervision.

2.       The defendant shall participate in a program of mental health counseling and/or treatment, to include
         inpatient treatment, based on the recommendations of the mental health provider.

3.       The defendant shall cooperate with the Probation Department and/or the Florida Department of
         Revenue's Child Support Enforcement Program in the establishment of support and shall make all
         required child support payments.
   Case 3:14-cr-00098-MCR-CJK                        Document 424   Filed 05/02/15   Page 5 of 7



FLND Form 2458 (rev 1212003) Judgment in a Criminal Case                                      Page 50f7
3. J4cr98-012IMCR· TERRANCE T. STONE



Upon a finding of a violation of probation or supervised release, I understand the Court may (1)
revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.

These conditions have been read to me. I fully understand the conditions and have been provided
a copy of them.




         Defendant                                                        Date




         U.S. Probation Officer/Designated Witness                        Date
   Case 3:14-cr-00098-MCR-CJK                        Document 424    Filed 05/02/15   Page 6 of 7



FLND Form 2458 (rev 1212003) Judgment in a Criminal Case                                        Page 6 of7
3.· J4cr98·0/2IMCR· TERRANCE T STONE


                                    CRIMINAL MONETARY PENALTIES


All criminal monetary penalty payments, except those payments made through the Bureau of
Prisons' Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District Court,
unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S. District
Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments can
be made in the form of cash if paid in person.

The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest on
any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                                          Restitution

               $300.00                                      Waived                    None




                                   SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $300.00 is imposed.


                                                            FINE

No fine imposed.

                                                     RES"rlTUTION

No restitution imposed.
    Case 3:14-cr-00098-MCR-CJK                       Document 424   Filed 05/02/15   Page 7 of 7



FLND Form 2458 (rev /212003) Judgment in a Criminal Case                                        Page 7 of7
3.14cr98·012IMCR· TERRANCE T STONE

                                           SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-federal
victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; and (7)
penalties in full immediately.

Breakdown of fine and other criminal penalties is as follows:
      Fine: Waived SMA: $300.00 Restitution: None Cost of Prosecution: None

The $300.00 monetary assessment shall be paid immediately. Any payments of the monetary
assessment and the fine made while the defendant is incarcerated shall be made through the
Bureau of Prisons' Inmate Financial Responsibility Program. The defendant must notify the court
of any material changes in the defendant's economic circumstances, in accordance with 18 U.S.C.
§§ 3572(d), 3664(k) and 3664(n). Upon notice of a change in the defendant's economic condition,
the Court may adjust the installment payment schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to
the commencement of supervision, the U.S. probation officer shall pursue collection of the amount
due. The defendant will receive credit for all payments previously made toward any criminal
monetary penalties imposed.
